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ALEX G. TSE (CABN 152348)
Acting United States Attomey

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Attorne s for United States of America AN Y_ SOONG
y ESFili.SU.S. DlSTRlCT COURT

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NOF$THERN DlSTBlCT OF CAL\FORZA

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVlSlON

l'N 'I`HE MATTER OF THE SEARCH OF No. l7-70656 JSC
A RESIDENCE IN APTOS,
CALIFORNIA 95003 DECLARATION OF DANIEL COSTIN lN

SUPPORT OF APPLICATION FOR TIME
EXTENSION

 

 

 

I, Daniel Costin, hereby declare:

l. I am a Special Agent With the Federal Bureau of Investigation (“FBI”) and have been employed
by the FBI as such since January 2008. l am currently assigned to the squad that investigates Child
Exploitation matters in the San Francisco Division’s Oakland Resident Agency. I am a trained Digital
Evidence Extraction Technician (DEXT), which authorizes me to search, find, and extract digital
evidence in support of FBI investigations As part of my duties as an FBI agent, I investigate criminal

violations relating to child exploitation and child pornography, including violations pertaining to the

DECLARATION OF DANIEL COSTIN IN SUPPORT OF APPLICATION FOR T[ME EXTENSION
CR No. 17-70656 JSC

 

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illegal production, distribution, receipt, and possession of child pornography, in violation of 18 U.S.C.
§§ 2251, 2252, and 2252A.

2. T his declaration is made in support of a request for an order providing the government additional
time to retain and forensically image, index, and search certain items that were seized pursuant to the
search Warrant issued in the above-captioned matter.

3. On April 26, 2017, the Honorable Jacqueline Scott Corley, United States Magistrate Judge for
the Northern District of California, signed a search warrant for a residence in Aptos, California (the
“Residence”), including computer equipment and electronic storage media therein. The purpose of the
Search Warrant, which is attached as Exhibit A to this Declaration, Was to seize and search for items
constituting evidence, contraband, fruits, or instrumentalities relating to violations of 18 U.S.C.

§ 2252(a)(2) and 2252(a)(4)(B), which prohibit the receipt, distribution and possession of child
pornography The search authorized by the warrant was executed on April 27, 2017, and the following
electronic media items were seized:

1. Black Apple iPhone 7, Model A1660, S/N F7ZSDRNGHG71

2. Western Digital MyPassport External Hard Drive, SfN WX91A10C0217

3. Black and green Transcend lTB Portable Hard Drive, S/N C842472715

4. Black Sabrent Portable Hard Drive, no serial number

5. Black Apple iWatch
Black Motorola Cellular Phone
Black and silver SGB Apple iPod
Black Apple 64GB iPad, Model A1416, S/N DLXH3A4JDJSV

§O?°.\’.G"

While and silver Apple Mac Mini, S/N YM7467LVYL1

lO. Black Lenovo Laptop, Model WB0109290E, S/N WB03435432

11. Alienware Laptop, Model P42F, S/N 451PM32

12. Black Amcrest 1080P Wireless IP Camera, Model IP2M-841B, S/N
AMC0007X137X70D028 with 32GB SanDisk Memory Card

4. These items were seized because, due to the large volume of electronic evidence found on-site,

DECLARATION OF DANIEL COSTIN IN SUPPORT OF APPLICATION FOR TIME EXTENSION
CR No. 17-70656 JSC

 

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it was determined the digital items could not be imaged and searched on-site in any practical manner.
Attachment C to the Search Warrant, which sets forth this District’s protocol for the seizure and
searching of electronic items, authorized agents to image the evidence Within 60 days and to search it
within 120 days. Attachment C iiirther provided in Paragraph 7 that “[t]he time period set forth in this
protocol may be extended by court order for good cause.”

5. The review of the Apple iPhone 7, the Motorola cell phone, and the Alienware laptop indicated
that all three devices contain child pomography. Because these items contain illegal contraband and
evidence of the crimes being investigated, they will not be returned to their owner.

6. Five of the devices_the iWatch, the iPod, the iPad, the Mac Mini, and the Wireless camera-
have been imaged and reviewed and do not contain child pornography The black Lenovo laptop was
missing a hard drive and did not contain child pornography either.

7. Five of the devices, two of which have already been determined to contain child pornography,
are entirely or partially encrypted, specifically:

1. Black Apple iPhone 7, Model A1660, S/N F7ZSDRNGHG71

2. Western Digital MyPassport External Hard Drive, S/N WX91A10C0217

3. Black and green Transcend lTB Portable Hard Drive, S/N C842472715

4. Black Sabrent Portable Hard Drive, no serial number

5. Alienware Laptop, Model P42F, S/N 451PM32
Due to the encryption, the FBI has thus far been unable to fully access or review all of the contents of
these devices.

8. On August 10, 2017, the Honorable Elizabeth D. Laporte, United States Magistrate Judge for the
Northem District of Califomia, signed an Order, attached as Exhibit B to this Declaration, authorizing
retention of these electronic devices for an additional 120 days.

9. On December 11, 2017, Judge Laporte signed another Order, attached as Exhibit C to this
Declaration, authorizing retention of these electronic devices for an additional 120 days.

10. On April 26, 2018, the Honorable United States District Court Judge Charles R. Breyer issued an

order requiring the devices’ owner to decrypt and/or unlock the encrypted and/or password-protected

DECLARATION OF DANIEL COSTIN IN SUPPORT OF APPLICATION FOR TIME EXTENSION
CR No. 17-70656 JSC

 

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portions of the black iPhone 7, the Transcend lTB hard drive, and the Alienware laptop. See CR 17-259
CRB-?., Dkt. 83.

11. Based on my training and experience, I anticipate that, once the defendant has decrypted the
three devices at issue in the decryption order, evidence on those devices may assist the FBI in
determining the passwords for the remaining two devices, thereby permitting the FBI to access and
review their contents.

12. This declaration is offered to demonstrate the good cause that supports an order providing the
FBI With additional time to decrypt, access, review, and complete the forensic processing of the
aforementioned items. Attempting to access, processing, and reviewing encrypted electronic evidence is
a labor-intensive process that must be performed by an individual trained in forensically sound digital
evidence extraction techniquesl In this case, the imaging of and attempt to access the five encrypted
devices took time and resources away from the processing and review of other devices.

13. Additional time is also warranted in this case because of the evidence found to date-that is,
illegal contraband and evidence of violations of 18 U.S.C. § 2252(a)(2) and 2252(a)(4)(B)_and to
assure that the devices not yet imaged or searched do not contain additional contraband and/or evidence
of the crimes being investigated

14. For these reasons the FBI seeks an additional 120 days total to review the devices referenced in
paragraph 2 for evidence of the crimes being investigated, consistent with the scope of the search
warrant issued on April 26, 2017, and the extensions issued by the Court on August 10, 2017, and
December 11, 2017 .

I declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge
Executed on this 18'f day of May, 2018, in Oakland, California.
1

Special Agent Dai§el Costin
Federal Bureau of Investigation

 

DECLAR.ATION OF DANIEL COSTI`N IN SUPPORT OF APPLICAT[ON FOR TlME EXTENSION
CR No. 17-70656 JSC ‘

 

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EXHIBIT A 4

 

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AO 93 (Rev. 12l09] Searoliand SelzureWarrant
UNITED_ STATES DisTR-lcr Court
' for the l . JS C
Northem District of California ` '
I'n the Mat.ter of`the Search of )
(Br'g{ly describe the propez'ty¢ B a sch d ' _ ' _ '
al'lidem-z]§’ thpvrsan by nameoa'n;;:iz¢iira:s) § C_a`§e, N@_ 3 ”=='-’S } rig "’ i? 0 6 5 6
1 "` “'
`)
)
SEARCH AND`SEIZURE WARRANT

To: A.ny authorized law enforcement officer
An application by a'federa'l law enforcement officer or ali-attorney foi"tli'e government requests the search

of`the following_pe_i‘son or property located’in the Northem Distr.ictt)f Cali§grn\g

(idenuf§) theperson or dasm'be the property to be searched and give lis harman .

~ - See A’ttachfnent A.
The person O'r property to be the person ar describe ike

searched, described above, is believed to conceal (idenrifj)
propei¢£y to lie seized)‘. _ ~ '

See Attachm'ent B.

_ l find that the aflidavit(s), or any recorded testimony-, establish probable cause to search and seize the person o'r

property. 4 .
alma 111 ,Ogld“

 

 

YOU ARE COMMANDED to execute this warrant on _or before
__ ` ' , (n to exseéd.li days)
Cl -at any time in the day or night-as 1 find easonable cause has been

il in the daytime 6:00 am. to 10 p:.m.
j established

warrant and a receipt for the properly

ust give a,eopy. of the
t)'r- leave' tire copy and¢reee‘ipt'a,t- the

Unless delayed notice is authorized belowJ yount
, taken to the person from whom, or ~'fnzm whose p'remises'v tlie`property was taken,
place where the property _was taken
”[`h_e officer executing this warrant, or an officer present during the execution~oi` the warrant, must prepare an
inventory as required bylaw and promptly return thls warrant and inventory to United States Maglstrate lodge
Hon. Ja.cqueline Scott Qorley , _
(name)

 

 

 

f] l B'nd that immediate noti-iieation_may have an adverse result listed 'm lB`U.S.C. §.2”105 (exoept for delay

oftriaD, and authorize the officer executing this Warrant to deiay noticeto the person who, or whose propert'y, will be
searched or seized (cher.l¢ /he appropriate box) El~ tier days amc w esteem-301 _
Cl until, the facts justifying the later specific date of

audit TSOW. inter pin § §<`

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U Ji:a'ge 's signii!urz- \-J'

San Franclsco, Calitornla ` _ l-l '. Jaogueline Scott Gorl'ey', U,S. ng'str'ate'.ludge

 

 

Date and tiine.is`sued:

City. and state',
Prtnted name and title

 

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AO 93 (Rev. 12/09} Search and£ei:nrc Warrmt (Page 2)
R_erurn

 

 

 

 

 

Case No.: D`ata and time warrant executed:' Copy of warrant and inventory left with:

 

 

 

 

Inventory made in the presence of`:

 

 

 

inventory office property taken and name ofany parso_n(s_ seize'd:

 

 

 

 

 

 

 

 

 

Uation

 

I declare wider penalty cfpeljw'y that this inventory -is oor".l'eot and was returned along with the original

warranties the designated judge

 

 

 

 

-Dale:
~ -Exacnt}ng ofz`cer '-s signature

 

 

 

 

b Prlnted name and title

 

 

 

 

 

 

 

 

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ATTACHMENT A

_____________-

Deseription of Proper'ty to B.e Searched

1.. free seech PRBNHSES ac__ is am

colored two story residential structure with a brown~d'oor onth'e westside of the residence

Afoed to'the right.hand. side of the door are three'white numbers hung vertically - The

residence has.two garages, one attached to the residence and one detaer on _th'e north~weet side

of the residence The two garages are connected by a black steel géte. B'oth garages have g_'rey

doors. In jabe rear of the property is a brow shed With white trrm. ' '

Th`e premises to be searched includes all rooms, atties,~elosed containers; and other P]aoes

therei'n, any appurtepances to the real property that is the SUBIECT PREMISES of-

_BMMSOMWM

This warrant includes the search of tire person of Kya.u Mel':`re;e} Spencer, da`t_e of birth

rear ~ "

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ATTACHMENT B
prescription or Para‘¢ular rings to be seized

The following materials, Whi`ch constitute contrabaod,- evidenc.'e_, instrumentalities or -

fruits or violations Q_f 1a U.s.c. §§ 2252(a)(2) alia 2252(a)(4)(e), walsh prohibit the receipt
distribution and possession of child pornography
_1; l Computers or storage media used as a means to:

a. visually depict minors engaged m sexually explicit conduot;

b. contain information pertaining to a sexual interest in children or in child

POTHngaPhY§
. c. distribute receive, or possess child pornography; or `
d. communicate with or` about minors engaged.i'n sexually explicit conduct

Z. For any computer or storage medium whose seizure ls otherwise authorized h`y

this warrant and any computer or storage medium that contains o_r invvhich i`s stored records or

information that' is otherwise called for by this warrant (_hereinat'ter, “COMPU'IER”)_:

a. evidence of Who used, owned or controlled the CDMPUTER at the time

the things described in this Warrant _W;ere ore'ated, edited, or deleted, such as. logs,

registryr entries, coniguration iiles, saved usernames and passwords, documents

browsing history, user profiles,e einail, entail contacts, ‘ichat”, instant messaging

logs, photographs and correspondence',

b. evidence of'software that Would allow others to control the COl\/.[PUTER,

such as viruses, Tro'jan horses, and other forms of malicious software; as well as

evidence of the presence or absence of security software designed to detect

malicious software;

 

 

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c. evidence of the lack of such malicious software;
d. n evidence indicating how' and when the COMPUTER` was accessed or used
`to determine the chronological context of computer access, use, and events

' relating to crime under investigation and t`o the COMPUTER .user;
~c. evidence indicating the COMIPI_JTER user’ s state of mind as it relates to
the crime under investigation', - l
i. evidence of the attachment to the COMPUTER of other storage devices or
similar containers for electronic evidence;

_ g. ' evidence of counter-foremic programs ('and associated data) thatarc
_ designed to eliminate data fromthe COMPUTER;

h evidence of ihe times the COMPUTER Was used; '

i. };)_assvvordsz encryption keys, and other access devices that maybe
__ necessary,to access the COMP.U’I`ER.;
j. documentation and manuals that may be necessary to access the '

COMPUT`ER or to condnct a forensic examination of the COMPUTER;

lc evidence about Iutemet Protoool addresses used by the '.COMPUTER;

l. ' evidence about the C®MPU’I`ER’ s Internet activity, including tirewall
lo_'gs, caches, brow-ser history and cookies, “hooki'narl§ed” or “favorite’ web pages~,
search terms that the nser entered into any Internet search engine, and records of
user-typed web addresses.;

m. evidence containing key-word.search terms related to child pornography

or references to websites' related to child pornography; and

 

 

 

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rt contextual information necessary to understand the evidence described in
this attachment

3. Router`s, mdein‘s, and netwciic equipmnt used to connect computers to the

'Internet.
4. _ Chi_]d pomogl‘aphj/`-and child erotica._

5 ., . Records, information and items relating tc violations cfthe statutes described

._ above including:

a. Records, information and items relating to the occupancy or ownership of

__ including utility and telephone bills, mail
envelopes or addressed coirespondence; Rec'ord,s, information and items relating

to the anership or- use cf computer equipment found inthe above residence,

including sales receipts, bills for lutei:net access, and handwritten nctes;

h. Records and information relating 'to the identity or location of the persons

suspected of violating the statutes described -above;.and

ds and information relating to: sexual exploitation of childrenl

f

“‘reccrds” and “in£crmaticn” includes all forms .of creation or

c. Recor

As used abcve, the terms-

storage, including any form of computer cr electronic storage (snch as hard disks or other media

that can store data); any handmade form(such as Writing); any mechanical form (such as printing

or typing); and any photo graphic farm (such as micrct°rhri,.. microfiche,~ prints, slidas, negatives,

' Videotapes, motion -piculre's, or photocopies). ‘

The term “computer""includes all types of electronic, magnetic, optical, electrcchernical,

or other high speed data processing devices performing 10 gica'l, aritlunetic, or storage functions

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in hiding deslctop computers notebook computers, mobile phones,.~tablets,‘ server computers, and
C ' 1 l . .
network hardware

The term “stcrage' medium” includes any physical object upon which computer data can
4 ' - - - M , and
be recorded Examples include hard disks, R~AM, flcppy disks, flash memory, CD RO- s

other magnetic cr optical media

 

 

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A’I'TACHMENT C
December'- 1(_), 2010, United Stat,es District Court for the Northem District of Califcrnia

PROTOCOL FOR SEARCHH\TG DEVICES OR MEDIA 'I'HAT STQRB DATA
ELECTRONICALLY '

'r.Hrs Pao'-rcoL Wnr eis ATTACHED To BACH season WARRANT THAT
Aurn‘onrzns A snARCH on moiser on emma THAT stokes DATA
ELEcrnoNrcArLY' -

l. In executing this warrant, the government will begin by` ascertaining whether all-
or pan cf a search of a device or media that stores data electronically (“the device”) reasonably
can be completed at the location listed in the warrant _(“the site”} within a reasonable time. If the
search reasonably can be completed on-site, the government will remove the device ~fromthe site
only if removal is necessary to preserve evidence, or if the item is contraband a forfeitable
instrumentality of the crime, or the fruit of °'a crime. '

2. If the government deternnnes-that a search reasonably cannot be completed on
site within a reasonable time period, the government must determine whether all or part cf the~
authorized search can be completed by making a mirror image on or'in some other manner
duplicating, the contents of the device and then conducting the forensic review of the mirror
image or duplication off site. 'I"he government will complete a forensic review of that mirror
image within 120 days of the execution of the search warrent.j

_~ 3'. ln a circumstance where the government determines that a mirror image ofthe
contents o_f a device cannot be created on site in a reasonable time, the government may seize
- and retain that device for 60 days in order to make a mirror miage oft-he contents of the device.

4. When the government removes a device fromthe searched premises it may also
remove any equipment or documents (“related equipment or-documents”) that reasonably appear
to be necessary to create a mirror image of the contents of the device or conduct an o`ff»site
forensic review of a device. _

5. When th'e govermnen't removes a device cr related equipment or documents n"or'n
the site in order to create a`mirror image ofthe device’s contents or to conduct an off-site
forensic review of the device, the government must file a return with-a magistrate judge that
identides with particularity the removed device cr related equipment or-documcnts Within' 14
calendar days of the execution of the search Warrant, '

6. Within a reasonable period of'time, but_not to. exceed 60 calendar days after
completing the forensic review of the device or image, the government must use reasonable
efforts to retim:l, delete, or destroy any data outside the scope of the warrant unless the
government is otherwise permitted by law to retain such data. '

7. The time periods set forth in this protocolmay be extended by court order for
good cause ' '

 

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8. ln the forensic review of any device or image under this warrant the government
must make reasonable eHOrts to use methods and procedures that will locate and expose those
categories of riles, documents, or other electronically-stored information that are identified with
particularity in the warrant, while minimizing,exposnre or examination ot` irrelevant privileged

or conhdential nies to the extent reasonably practicable

9. ` For the purposes of this search protocol, the phrase “to preserve evidence” is

meant to encompass reasonable measures to ensure the integrity of information responsive to the

4 warrant and the methods used to locate same

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EXHIBIT B

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UNITED sTATE_,s DISTRICT coURT
NORTHERN_DISTRJCT QF cALIPoRNm
sAN FRANCIS co DIVISION
cAsE No. 17-70656 Jsc
[PRo,P<Fs ED] omni AUTHORIZH\IG

RETENTION OF ELEC'I_`RONIC DEVICES
FOR. AN ADDITIONAL 120 DAYS

IN THE MATTER oF THE sEARCH OF
A RESIDENCE m APTOS,
cALrFoRNlA 95003

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Upon application nfthe United States of America and good cause appearing,

II` IS I-IEREBY ORDERED that the deadlines set forth in Paxagraph 2, Paragraph 3, and
Parag:aph 6 of Attachmem_t C of the search \;varrant in this matter authorized on AI_)ril-26, 2017, be and
hereby are extended by an'addiaonal 120'days.

IT IS SO ORDERED. v

DATED;PWL:)\/v&\'!.`w\:i' ` v §QLJ{'/\ nfl/mb

. ¢HGN. EL'IZABBTH D. LAPORTE
United States Magistrate Judge

[PROPOSED] ORDER AU'I'HORIZING RETENTION OF ELECTOMC DEVICES FOR ADDITIONAL 120 DAYS
No. 17~70656 .TSC

 

 

 

 

 

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EXHIBIT C

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UNITED sTATEs DISTRJCT COURT
NORTHERN DISTRICT oF cALIFoRNtA
sAN FRANCISco DIVISIoN
cAsE No. 17-70656 Jsc
[PRoPosED] oRDER AUTHORIZING

RETEN'HON OF ELECTRONIC DEVICES
FOR AN ADDITIONAL 120 DAYS

]N THE MATTER OF THE SEARCH OF
A RES]DENCE ]N AP'I`OS,
CALIFORNIA 95003

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Upon application of the United States of America and good cause appearing,

IT IS HEREBY ORDERED that the deadlines set forth in Paragraph 2, Paragraph 3, and
Paragraph 6 of Attachment C of the search warrant in this matter authorized on April 26, 2017, Which
deadlines Were previously extended by 120 days by the Court’s Order of Angust 10, 2017, be and
hereby are extended by an additional 120 days.

IT IS SO ORDERED. l

 
   

DATED:DQ(MA)Q@¢ `\\ 3 201/t

N. E ABETH D. LAPOR E
_ United States Magistrate Judge

[PROPOSED] ORDER AUTHORIZING R.`ETENTION OF ELECTONIC DEVICES FOR ADDITIONA.L 120 DAYS

No. 17~70656 ISC - '

 

 

